Case 2:21-cv-04405-RGK-MAR Document 113 Filed 07/19/22 Page 1 of 10 Page ID #:2600



    1   THE INSTITUTE FOR JUSTICE
         Robert Frommer*
    2    rfrommer@ij.org
         Michael Greenberg*
    3    mgreenberg@ij.org
         Joseph Gay^
    4    jgay@ij.org
         901 N. Glebe Rd., Suite 900
    5    Arlington, VA 22203
         Tel. (703) 682-9320
    6    Robert E. Johnson*
         rjohnson@ij.org
    7    16781 Chagrin Blvd., Suite 256
         Shaker Heights, OH 44120
    8    Tel. (703) 682-9320
    9    * Admitted pro hac vice.
         ^Pro hac vice application pending.
   10    THE VORA LAW FIRM, P.C.
         Nilay U. Vora (SBN 268339)
   11    nvora@voralaw.com
         Jeffrey Atteberry (SBN 266728)
   12    jatteberry@voralaw.com
         201 Santa Monica Blvd., Suite 300
   13    Santa Monica, CA 90401
         Tel. (424) 258-5190
   14
         Attorneys for Plaintiffs
   15
                        IN THE UNITED STATES DISTRICT COURT
   16                 FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                    WESTERN DIVISION
   17                                       Case No. 2:21-cv-04405-RGK-MAR
        PAUL SNITKO, JENNIFER
   18   SNITKO, JOSEPH RUIZ, TYLER
        GOTHIER, JENI VERDON-               PLAINTIFFS’ APPLICATION FOR
   19   PEARSONS, MICHAEL STORC,            LEAVE TO FILE DOCUMENTS
        and TRAVIS MAY,                     UNDER SEAL
   20
                                      Plaintiffs, (Filed Concurrently with Declaration of
   21               v.                            Robert Frommer; Proposed Unredacted
   22                                             Documents to File Under Seal; and
        UNITED STATES OF AMERICA,                 Proposed Order)
   23   TRACY L. WILKISON, in her
        official capacity as Acting United
   24   States Attorney for the Central           Judge: Hon. R. Gary Klausner
        District of California, and KRISTI        Trial: August 23, 2022
   25   KOONS JOHNSON, in her official            Complaint  Filed: May 27, 2021
        capacity as an Assistant Director of
   26   the Federal Bureau of Investigation,      Amended   Complaint  Filed: June 9, 2021
   27                              Defendants.
   28

                  PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL
Case 2:21-cv-04405-RGK-MAR Document 113 Filed 07/19/22 Page 2 of 10 Page ID #:2601



    1         Pursuant to Local Rule 79-5.2.2, Plaintiffs hereby apply for leave to file
    2   under seal the following two sets of documents submitted as exhibits to Plaintiffs’
    3   Opening Brief, as well as Plaintiffs’ Opening Brief itself. As noted below, Plaintiffs
    4   do not agree that all of these documents need to be filed under seal, but, as to those
    5   documents, Plaintiffs are filing this Application because the documents have been
    6   designated as confidential by Defendants under the Protective Order:
    7      • Records of the Searches and Inventories of Class Members’ Boxes: Plaintiffs
    8         are submitting a select set of inventory records (Exhibit A to the Declaration
    9         of Robert Frommer in Support of Opening Brief (“Frommer Opening Br.
   10         Decl.”)) and inventory videos (Frommer Opening Br. Decl. Exhibit B) that
   11         were created during the search of class members’ USPV boxes. Due to the
   12         sensitive, private information contained in these inventories of class
   13         members’ private USPV boxes, Plaintiffs seek leave to file these materials
   14         under seal. To accommodate the public interest in understanding the
   15         government’s inventory process and the types of records it created, Plaintiffs
   16         are publicly filing redacted exemplars of the forms that the government used
   17         to create the inventory records. (Frommer Opening Br. Decl. Exhibits P and
   18         Q). With the exception of the publicly-filed exemplars, Plaintiffs take the
   19         position that these records from the search should be filed under seal.
   20      • Transcripts of Depositions of Government Witnesses: Plaintiffs are also
   21         submitting transcripts from the depositions of several government witnesses
   22         (Frommer Opening Br. Decl. Exhibits L through O). Under the terms of the
   23         Protective Order, the “entire deposition transcript” is treated as
   24         “Confidential” until the government designates specific pages and lines as
   25         “Confidential.” Protective Order § 5(d), ECF 92 at 6. The government has 30
   26         days to designate specific pages and lines. Those 30 days have not elapsed,
   27         and the government declined to make the designations in advance of the
   28         Opening Briefs. The government also declined Plaintiffs’ request pursuant to
                                                  1
                  PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL
Case 2:21-cv-04405-RGK-MAR Document 113 Filed 07/19/22 Page 3 of 10 Page ID #:2602



    1            Local Rule 79-5.2.2(b) to propose redactions that would minimize or
    2            eliminate the need to file these materials under seal. Plaintiffs are therefore
    3            required by the terms of the Protective Order to file the entire deposition
    4            transcripts under seal. However, Plaintiffs take the position that the entirety
    5            of these transcripts should be available to the public.
    6      • Plaintiffs’ Opening Brief: Because the Protective Order requires Plaintiffs to
    7            treat the deposition transcripts discussed above as “Confidential,” and
    8            because Plaintiffs’ Opening Brief discusses the deposition testimony,
    9            Plaintiffs are also required (against their wishes) to file a heavily redacted
   10            version of their Opening Brief on the public docket and to seek to file their
   11            Opening Brief under seal. Plaintiffs take the position that the entirety of their
   12            opening brief should be available to the public.
   13            Plaintiffs informed counsel for the government on July 12 and 14, 2022, of
   14   their intent to seek leave to file Exhibits A and B under seal along with publicly
   15   accessible exemplar records at Exhibits P and Q. (Decl. of Robert Frommer Supp.
   16   Appl. for Leave to File Docs. Under Seal (“Frommer Decl.”) ¶¶ 3–4). The
   17   government does not oppose Plaintiffs’ request to file these materials under seal.
   18   (Id. ¶ 5). Both parties thus agree that the excerpted records revealing the contents of
   19   the boxes should be sealed.
   20            Plaintiffs also informed counsel for the government on July 12 and 14, 2022,
   21   that Plaintiffs intended to file the transcripts of the depositions taken for use in this
   22   action. (Id. ¶¶ 3–4). 1 Then, on July 14, counsel for Plaintiffs specifically requested
   23   that the parties confer about what lines, if any, needed to be redacted. (Id. ¶ 4). That
   24   same day, counsel for the government responded that the government had not yet
   25
             1
               For two of the depositions in this case, Exhibits J and K, the government has
   26   made its confidentiality designations under the Protective Order. Plaintiffs are not
   27   relying on the portions designated “Confidential,” so they are filing public versions
        that redact the information designed “Confidential,” and Plaintiffs do not need to
   28
        file these materials under seal. (Frommer Decl. ¶¶ 4-5).
                                                     2
                     PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL
Case 2:21-cv-04405-RGK-MAR Document 113 Filed 07/19/22 Page 4 of 10 Page ID #:2603



    1   determined which portions of the depositions were confidential. (Id. ¶ 5). On July
    2   18, counsel for Plaintiffs again requested proposed redactions, if any, for the
    3   deposition transcripts. (Id. ¶ 6). Counsel for the government responded again that it
    4   would not be able to propose any confidentiality designations, and that the entire
    5   transcripts should be treated as “Confidential” and filed under seal. (Id.).
    6                                     BACKGROUND
    7         This class-action lawsuit challenges the government’s unconstitutional search
    8   and seizure of Plaintiffs’ and class members’ USPV boxes in March 2021. As
    9   described in their Opening Brief, Plaintiffs claim that the government’s search
   10   showed a “callous disregard” for class members’ constitutional rights because it
   11   exceeded the parameters of the warrant, was not conducted for any valid inventory
   12   purpose but instead was a pretext for a criminal investigatory search, and was
   13   objectively unreasonable under the terms of Judge Kim’s warrant, the FBI’s own
   14   operating procedures, and the Fourth Amendment.
   15         As a result of this illegal search into class members’ private USPV boxes, the
   16   government has amassed a stockpile of records, pictures, and videos revealing the
   17   personal information and private affairs of class members. Most of these records
   18   can be divided into three groups. First, the government filled in FD-302 forms,
   19   which describe the government’s search of a class member’s box, identify the
   20   private contents of the box, and narrate the agent’s observations, such as personally
   21   identifying information and anything the agent views as potentially incriminating.
   22   (Frommer Decl. ¶ 10; Frommer Opening Br. Decl. Ex. P (exemplar form FD-302)).
   23   Substantially similar information is provided on forms FD-597 and FD-896.
   24   (Frommer Decl. ¶ 10). Second, the government created an “Agent Observations and
   25   Notes” form specifically for the purposes of executing the USPV seizure warrant,
   26   upon which agents were to record investigatory information they uncovered during
   27   their search. Agents used this form to capture details about class members’ boxes,
   28   such as the condition about any cash seized from a class members’ box, the results
                                                   3
                  PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL
Case 2:21-cv-04405-RGK-MAR Document 113 Filed 07/19/22 Page 5 of 10 Page ID #:2604



    1   of the drug dog’s sniff of that cash, and any other observations. (Frommer Decl.
    2   ¶ 11; Frommer Opening Br. Decl. Ex. Q (exemplar “Agent Observations and
    3   Notes” form)). Agents would also record upon this form names, drivers’ license
    4   numbers, email addresses, and phone numbers obtained from documents inside the
    5   box. (Id.). Third, the government took numerous photographs and videos of the
    6   contents of class members’ boxes, showing IDs, passports, personal documents
    7   (including handwritten notes, blank checks, credit/debit cards, business cards,
    8   financial receipts, title certificates and other legal documents, and password lists),
    9   jewelry, cash, precious metals, memorabilia, and other personal mementos.
   10   (Frommer Decl. ¶ 12).
   11         These records provide an intimate view into the private affairs of class
   12   members. (Id. ¶ 14). 2 The very purpose of the safe-deposit boxes, after all, was to
   13   keep class members’ property and information safe and secure from others. This
   14   lawsuit seeks to require the government to return, destroy, or otherwise sequester
   15   these unlawfully created records, both to eliminate the ongoing violation of
   16   Plaintiffs’ and class members’ privacy and to prevent the government from using
   17   the records for future investigations. Consistent with the purpose of this lawsuit to
   18   vindicate class members’ rights, Plaintiffs seek leave to file under seal the
   19   documents reflecting the personal and private information the government
   20   unlawfully collected from class members.
   21                                      ARGUMENT
   22         Courts “recognize a general right to inspect and copy public records and
   23   documents, including judicial records and documents.” Ctr. for Auto Safety v.
   24   Chrysler Grp., LLC, 809 F.3d 1092, 1096 (9th Cir. 2016) (quoting Nixon v. Warner
   25   Commnc’ns, Inc., 435 U.S. 589, 597 (1978)). The Ninth Circuit therefore “start[s]
   26         2
                Even the government has received reports from class members expressing
   27   concern about the information the government collected from their boxes being
        publicly disclosed. See Joint Stipulation regarding Pls.’ Mot. to Compel, Doc. 85-1
   28   at 28:16–20 (Mar. 9, 2022); Decl. of Victor A. Rodgers Opp’n to Pls.’ Mot. to
        Compel, Doc. 85-19 ¶ 7 (Mar. 9, 2022).
                                                   4
                  PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL
Case 2:21-cv-04405-RGK-MAR Document 113 Filed 07/19/22 Page 6 of 10 Page ID #:2605



    1   with a strong presumption in favor of access to court records.” Id. (quoting Foltz v.
    2   State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1135 (9th Cir. 2003)). And where,
    3   as here, the filings relate to the merits of the matter, see id. at 1097–99, the party
    4   seeking to seal the record “bears the burden of overcoming this strong presumption
    5   by meeting the ‘compelling reasons’ standard.” Id. (quoting Kamakana v. City &
    6   Cnty. of Honolulu, 447 F.3d 1172, 1178 (9th Cir. 2006)).
    7      A. There Are Compelling Reasons to File Records of the Searches and
    8             Inventories of Class Members’ Boxes Under Seal
    9         The records the government created concerning class members’ boxes reveal
   10   private details about class members that support filing these materials under seal.
   11   Some of the information involves private financial information, such as the fact that
   12   a class member had saved substantial sums in cash or precious metal. (Frommer
   13   Decl. ¶ 14). Other information concerns the government’s accusatory observations,
   14   such as whether the government believed a class member was storing cash in a
   15   suspicious manner. (Id. ¶¶ 10–11, 14). And some information reveals some of the
   16   most intimate and personal details of class members’ lives, such as vaccinations,
   17   cremations, and marriage dissolutions. (Id. ¶ 14). 3
   18         Courts have widely recognized that a compelling reason “exists to seal
   19   documents that reveal sensitive personal information.” Baleja v. Northrop
   20   Grumman Space & Missions Sys. Corp., No. EDCV-17235-JGB(SPx), 2020 WL
   21   3213708, at *2 (C.D. Cal. Mar. 26, 2020). This concern is particularly weighty
   22   when the personal information relates to innocent third parties. E.g., United States
   23   v. Amodeo, 71 F.3d 1044, 1050 (2d Cir. 1995) (cleaned up) (observing that the
   24   “privacy interests of innocent third parties” should “weigh heavily”). The concern
   25   for innocent third parties also includes absent class members. Gunderson v. Alta
   26

   27
              3
                Some of the documents may not appear to identify individual class
        members because they just show the box number, but other public information,
   28   such as the government’s forfeiture notices, have connected box numbers to
        specific individuals. (Id.).
                                                    5
                    PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL
Case 2:21-cv-04405-RGK-MAR Document 113 Filed 07/19/22 Page 7 of 10 Page ID #:2606



    1   Devices, Inc., No. 19-CV-08017-BLF, 2021 WL 4461569, at *4 (N.D. Cal. Sept.
    2   29, 2021) (granting motion to seal “exhibits that contain personally identifying
    3   information of Class members”); Mendell v. Am. Med. Response, Inc., No. 19-CV-
    4   01227-BAS-KSC, 2021 WL 778624, at *4 (S.D. Cal. Mar. 1, 2021) (protecting
    5   sensitive personal information about putative class members); Hedrick v. Grant,
    6   No. 2:76-CV-0162-GEB-EFB P, 2017 WL 550044, at *2 (E.D. Cal. Feb. 10, 2017)
    7   (agreeing that records were “sensitive and private information about class members
    8   and that such information should be sealed”).
    9         This case also presents a uniquely compelling reason to file these documents
   10   under seal. Plaintiffs and class members had a constitutional right to keep their
   11   property securely and privately in their safe-deposit boxes. See United States v.
   12   Wetselaar, No. 2:11-CR-00347-KJD, 2013 WL 8206582, at *10 (D. Nev. Dec. 31,
   13   2013), report and recommendation adopted, No. 2:11-CR-00347-KJD, 2014 WL
   14   1366722 (D. Nev. Apr. 7, 2014) (renters of safe-deposit boxes “had a reasonable
   15   expectation of privacy in the contents”); cf. United States v. Jones, 565 U.S. 400,
   16   405 (2012) (Fourth Amendment protects against trespasses to property rights); Katz
   17   v. United States, 389 U.S. 347 (1967) (Fourth Amendment protects reasonable
   18   expectations of privacy). The records here are not just private, they are themselves
   19   part of the constitutional violation that Plaintiffs seek to remedy in this case.
   20         On the other side of the ledger, the public has little interest in seeing the
   21   illegally obtained details concerning the contents of specific class members’ boxes.
   22   See Nixon v. Warner Commc’ns, Inc., 435 U.S. 589, 598 (1978) (cleaned up) (court
   23   records should not be “used to gratify public spite or promote public scandal”).
   24   Rather, the salient issues are the government’s conduct in applying for and
   25   executing the seizure warrant, and the types of records it created as a result.
   26   Recognizing the public’s interest in understanding those details, Plaintiffs are
   27   publicly filing exemplar documents reflecting that information. (Frommer Opening
   28   Br. Decl. Exs. P, Q). The Court should therefore protect class members’ personal
                                                   6
                   PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL
Case 2:21-cv-04405-RGK-MAR Document 113 Filed 07/19/22 Page 8 of 10 Page ID #:2607



    1   and private information by granting Plaintiffs leave to file Exhibits A and B under
    2   seal.
    3      B. There Are Not Compelling Reasons to File the Deposition Transcripts
    4           Under Seal
    5           Plaintiffs do not believe that Exhibits L through O (the deposition transcripts)
    6   should be filed under seal. But the government has interpreted the Protective
    7   Order’s requirement that entire deposition transcripts be treated as “Confidential”
    8   for 30 days as trumping the Local Rules’ requirement that parties seek to redact
    9   confidential material before seeking to file it under seal. Out of an abundance of
   10   caution, Plaintiffs are therefore filing the deposition transcripts under seal.
   11           These deposition transcripts contain information important to the disposition
   12   of this case and to the broader public’s interest in the conduct of the government.
   13   Exhibits L and N are transcripts from the depositions of two senior federal
   14   investigators who were intimately involved in investigating USPV and in planning
   15   the search and seizure at USPV. (Frommer Decl. ¶ 7). They shed light on the
   16   government’s motivation and tactics carrying out the search and seizure. Exhibits
   17   M and O are transcripts from the 30(b)(6) deposition of the government itself, and
   18   sheds obvious light on how the government has justified its conduct with respect to
   19   class members’ boxes. (Id.).
   20           If the Court denies leave to file these under seal, Plaintiffs will submit
   21   unredacted versions. Alternatively, if the Court agrees that some redactions are
   22   warranted, Plaintiffs will submit updated versions with those redactions on the
   23   public docket.
   24      C. There Are Not Compelling Reasons to File Plaintiffs’ Opening Brief
   25           Under Seal
   26           Because Plaintiff’s’ Opening Brief contains information from Exhibits L
   27   through O, the terms of the Protective Order require Plaintiffs (against their wishes)
   28   to file a heavily redacted version of their Opening Brief on the public docket, and to
                                                    7
                    PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL
Case 2:21-cv-04405-RGK-MAR Document 113 Filed 07/19/22 Page 9 of 10 Page ID #:2608



    1   seek to file the unredacted version under seal. The redacted information includes
    2   information detailing the government’s plan for executing the search and seizure at
    3   USPV and its instructions to agents and officers about how to inventory the
    4   individual USPV boxes. Not only is this information central to understanding and
    5   resolving the disputed issues in this case, it also implicates the type of “conduct
    6   affecting a substantial portion of the public,” Amodeo, 71 F.3d at 1051, that weighs
    7   in favor of disclosure. This case raises important constitutional issues about
    8   government actions that impacted hundreds of people, and the public has the right
    9   to know about these issues.
   10         Plaintiffs therefore ask that the Court permit Plaintiffs to file an unredacted
   11   version of their Opening Brief on the public docket. In the event the Court
   12   concludes that the brief discloses information from the depositions that should
   13   remain under seal, Plaintiffs ask that the Court permit Plaintiff to submit a public,
   14   redacted version of their Opening Brief limited to those redactions.
   15                                      CONCLUSION
   16         For the foregoing reasons, Plaintiffs request that the Court grant leave to file
   17   Exhibits A and B under seal. Plaintiffs further request that the Court deny leave to
   18   file Exhibits L through O and Plaintiffs’ Opening Brief under seal, and that the
   19   Court instead direct Plaintiffs to file those exhibits on the public docket.
   20

   21

   22

   23

   24

   25

   26

   27

   28

                                                   8
                  PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL
Case 2:21-cv-04405-RGK-MAR Document 113 Filed 07/19/22 Page 10 of 10 Page ID
                                 #:2609


  1
      Dated: July 19, 2022                   Respectfully Submitted,
  2
                                                 /s/Robert Frommer_______________
  3
                                                 THE INSTITUTE FOR JUSTICE
  4                                              Robert Frommer*
                                                 rfrommer@ij.org
  5                                              Michael Greenberg*
                                                 mgreenberg@ij.org
  6                                              Joseph Gay^
                                                 jgay@ij.org
  7                                              901 N. Glebe Rd., Suite 900
                                                 Arlington, VA 22203
  8                                              Tel. (703) 682-9320
  9                                              Robert E. Johnson*
                                                 rjohnson@ij.org
 10                                              16781 Chagrin Blvd., Suite 256
                                                 Shaker Heights, OH 44120
 11                                              Tel. (703) 682-9320
 12                                              *Admitted pro hac vice.
                                                 ^Motion for pro hac vice pending.
 13

 14                                              THE VORA LAW FIRM, P.C.
                                                 Nilay U. Vora (SBN 268339)
 15                                              nvora@voralaw.com
                                                 Jeffrey Atteberry (SBN 266728)
 16                                              jatteberry@voralaw.com
                                                 201 Santa Monica Blvd., Suite 300
 17                                              Santa Monica, CA 90401
                                                 Tel. (424) 258-5190
 18
                                                 Attorneys for Plaintiffs
 19

 20

 21

 22

 23

 24

 25

 26

 27

 28

                                             9
               PLAINTIFFS’ APPLICATION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL
